Case 3:16-cv-01974-BEN-LL Document 193 Filed 06/30/21 PageID.8167 Page 1 of 8

                       UNITED STATES COURT OF APPEALS
                                                                       FILED
Jun 30 2021                   FOR THE NINTH CIRCUIT
                                                                       APR 09 2021

  s/ AKR                                                              MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




  ROCHELLE NISHIMOTO,                              No. 19-55418
  individually and as successor in Interest
  to Jason Nishimoto,
                                                   D.C. No. 3:16-cv-01974-BEN-LL
                  Plaintiff - Appellant,           U.S. District Court for Southern
                                                   California, San Diego
      v.
                                                   MANDATE
  COUNTY OF SAN DIEGO; et al.,

                  Defendants,

  ETHAN MIEDECKE; et al.,

                  Defendants,

    and

  ANNE BRANTMAN and
  CORRECTIONAL PHYSICIANS
  MEDICAL GROUP, INC.,

                  Defendants - Appellees.


           The judgment of this Court, entered March 18, 2021, takes effect this date.

           This constitutes the formal mandate of this Court issued pursuant to Rule

 41(a) of the Federal Rules of Appellate Procedure.

           Each party shall bear its own costs on appeal.
Case 3:16-cv-01974-BEN-LL Document 193 Filed 06/30/21 PageID.8168 Page 2 of 8

                                          FOR THE COURT:

                                          MOLLY C. DWYER
                                          CLERK OF COURT

                                          By: Rhonda Roberts
                                          Deputy Clerk
                                          Ninth Circuit Rule 27-7
Case 3:16-cv-01974-BEN-LL Document 193 Filed 06/30/21 PageID.8169 Page 3 of 8




                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       MAR 18 2021
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

ROCHELLE NISHIMOTO, individually                No.    19-55418
and as successor in Interest to Jason
Nishimoto,                                      D.C. No.
                                                3:16-cv-01974-BEN-LL
                Plaintiff-Appellant,

  v.                                            MEMORANDUM*

COUNTY OF SAN DIEGO; et al.,

                Defendants,

ETHAN MIEDECKE; et al.,

                Defendants,

 and

ANNE BRANTMAN; CORRECTIONAL
PHYSICIANS MEDICAL GROUP, INC.,

                Defendants-Appellees.

                   Appeal from the United States District Court
                     for the Southern District of California
                   Roger T. Benitez, District Judge, Presiding

                     Argued and Submitted September 2, 2020
                              Pasadena, California


       *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
Case 3:16-cv-01974-BEN-LL Document 193 Filed 06/30/21 PageID.8170 Page 4 of 8




Before: IKUTA and BENNETT, Circuit Judges, and WOODLOCK,** District
Judge.

      Rochelle Nishimoto appeals the district court’s grant of summary judgment

to Correctional Physicians Medical Group (“CPMG”) and CPMG Nurse

Practitioner Anne Brantman.1 Nishimoto also appeals the district court’s denial of

her motion for reconsideration under Federal Rule of Civil Procedure (“Rule”)

60(b)(2) and request to add three CPMG officials to the lawsuit. Her lawsuit arises

from the suicide of her son, Jason Nishimoto (“Jason”), while he was in custody at

the Vista Detention Facility.

      We have jurisdiction under 28 U.S.C. § 1291, and we affirm in part, reverse

in part, and remand.

      We reverse the district court’s grant of summary judgment because, viewing

the evidence in the light most favorable to Nishimoto, there is a genuine issue of

material fact as to whether Nurse Brantman recommended that Jason be transferred

to a medical observation cell and communicated Jason’s suicide risk to the medical

staff.2 See T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626,



      **
              The Honorable Douglas P. Woodlock, United States District Judge for
the District of Massachusetts, sitting by designation.
      1
        The other defendants, the County of San Diego (“County”) and six County
employees, were dismissed after settling with Nishimoto.
      2
        Because Nurse Brantman and CPMG make no argument that these facts
are not material, we assume without deciding that they are material with respect to
Nishimoto’s claims.

                                         2
Case 3:16-cv-01974-BEN-LL Document 193 Filed 06/30/21 PageID.8171 Page 5 of 8




630 (9th Cir. 1987). Nurse Brantman’s detailed evaluation note made no

recommendation to move Jason to a medical observation cell and noted no

conversation in which she had made such a recommendation. And even though

Nishimoto had told Nurse Brantman that Jason had taken a bottle of Klonopin pills

to kill himself,3 Nurse Brantman’s note mentioned no suicide risks. Further, it is

undisputed that Jason was never moved to a medical observation cell, and that the

medical staff had followed Nurse Brantman’s housing recommendation on every

other occasion except in Jason’s case. Construing this evidence in the light most

favorable to Nishimoto, a rational trier of fact could find that Nurse Brantman

never recommended that Jason be moved to a medical observation cell or relayed

concerns about any suicide risks. See id. at 631.

      Though we find that genuine issues of material fact exist based on the

evidence that the district court did not exclude, we note that the district court erred

in sustaining objections to Deputy Johnson’s deposition testimony regarding a

conversation he overheard between Nurse Brantman and Nurse Felizardo.4 That

Deputy Johnson may not have been paying attention to the entirety of the



      3
         Nurse Brantman disputes this fact, but we accept Nishimoto’s account as
true for summary judgment purposes.
       4
         It also appears that the district court improperly excluded a portion of
Deputy Johnson’s deposition testimony in which he testified that Nurse Brantman
never told him about Jason’s suicide risks. Deputy Johnson clearly had personal
knowledge about what Nurse Brantman told him.

                                           3
Case 3:16-cv-01974-BEN-LL Document 193 Filed 06/30/21 PageID.8172 Page 6 of 8




conversation goes to the weight not the admissibility of his testimony, especially

since he specifically testified to certain parts of the conversation.5

      In sum, the district court erred in finding that it was undisputed that Nurse

Brantman had recommended moving Jason to a medical observation cell and

relayed her concerns to medical staff about Jason’s suicide risks. Because the

district court granted summary judgment to Nurse Brantman and CPMG based on

these incorrect findings, we reverse the district court’s summary judgment order.6

      Before discovery had been completed, Nishimoto and CPMG jointly moved

to dismiss the two § 1983 claims against CPMG with prejudice. The court granted

the joint motion (“Order Granting the Joint Motion”). After receiving new

discovery materials from the County defendants, Nishimoto filed a motion for

reconsideration under Rule 60(b)(2) to undo the Order Granting the Joint Motion

and requested leave to add three CPMG officials to the lawsuit.7 The court denied


      5
         Because we reverse based on the evidence that the district court did not
exclude, we need not decide if the district court erred in excluding other evidence.
       6
         We decline to reach Nurse Brantman’s qualified immunity argument, as
she raises it for the first time on appeal. See Padgett v. Wright, 587 F.3d 983, 985
n.2 (9th Cir. 2009) (per curiam). We leave this issue to the district court, should
Nurse Brantman raise it on remand. Nurse Brantman also argues that, based on her
expert’s report, it is undisputed that she met the standard of care. But her expert’s
conclusion depended on the material disputed assumption that Nurse Brantman
recommended moving Jason to a medical observation cell. Thus, her argument
fails. Similarly, we reject Nurse Brantman’s causation argument because it rests
on her expert’s report.
       7
         Like the district court, we assume that Nishimoto properly brought her
reconsideration motion under Rule 60(b)(2).

                                           4
Case 3:16-cv-01974-BEN-LL Document 193 Filed 06/30/21 PageID.8173 Page 7 of 8




the motion for reconsideration because, among other things, Nishimoto’s “joint

motion to dismiss was her own strategic decision, a decision that could have been

delayed until after the County’s email production.” The court also noted

Nishimoto’s lack of diligence in trying to procure the evidence as she never moved

to compel the County to produce its documents.

      To establish that the district court abused its discretion in denying her Rule

60(b)(2) motion, Nishimoto must show that the discovery materials “constituted

‘newly discovered evidence’ within the meaning[] of Rule[] 60(b)(2).” Coastal

Transfer Co. v. Toyota Motor Sales, 833 F.2d 208, 211 (9th Cir. 1987). “Evidence

is not ‘newly discovered’ under the Federal Rules if it . . . could have been

discovered with reasonable diligence.” Id. at 212. The record reveals that

Nishimoto could have obtained the discovery materials from the County had she

been reasonably diligent. Thus, she fails to show that the district court abused its

discretion. We also note, contrary to Nishimoto’s claim, she could not have relied

on Dr. Joshua’s testimony in filing the joint motion because his deposition

occurred after the joint motion was filed. And if Nishimoto needed more time to

obtain discovery to support her opposition to CPMG’s motion for summary

judgment, she could have sought relief under Rule 56(d) rather than agree to

dismiss the § 1983 claims against CPMG. Under the circumstances, the district

court did not abuse its discretion.


                                          5
Case 3:16-cv-01974-BEN-LL Document 193 Filed 06/30/21 PageID.8174 Page 8 of 8




      Finally, the district court did not abuse its discretion in denying Nishimoto’s

request to add the CPMG officials. See Coleman v. Quaker Oats Co., 232 F.3d

1271, 1294–95 (9th Cir. 2000) (reviewing for abuse of discretion where plaintiffs

sought to amend their complaints after scheduled deadline had passed). Because

the deadline for joining parties and for filing pretrial motions had passed, the

district court correctly applied the “good cause” standard under Rule 16(b)(4) to

Nishimoto’s request. See id. at 1294. Nishimoto argued that she established good

cause because, before receiving the new discovery materials, she did not know

about the feud between CPMG and the County.8 But before Nishimoto agreed to

dismiss the § 1983 claims against CPMG, CPMG’s counsel had informed

Nishimoto’s counsel that there was a separate action between CPMG and the

County related to issues in this case. Given this, the district court did not abuse its

discretion in denying Nishimoto’s request to add the CPMG officials.

      Each party shall bear its own costs on appeal.

      AFFIRMED IN PART, REVERSED IN PART, AND REMANDED.




      8
        The district court rejected Nishimoto’s other argument establishing good
cause as moot, and Nishimoto does not appeal that part of the district court’s
decision.

                                           6
